       Case 18-12947 Doc 6 Filed 11/04/18 Entered 11/04/18 08:45:27 Main Document Page 1 of 1
 Fill in this information to identify your case:
 Debtor 1            Helen                J                      Drouillard
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF LOUISIANA

 Case number
 (if known)                                                                                                        Check if this is an
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?

         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

         Person or company with whom you have the contract or lease                  State what the contract or lease is for




Official Form 106G                            Schedule G: Executory Contracts and Unexpired Leases                                               page 1
